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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


CARLOS FRANCISCO SANTANA                      MOTION TO VACATE
MERO,                                         28 U.S.C. § 2255
BOP Reg. # 77986-112,
                                              CRIMINAL ACTION FILE
        Movant,                               NO. 1:16-CR-228-MHC-AJB

v.                                            CIVIL ACTION FILE
                                              NO. 1:20-CV-1070-MHC
UNITED STATES OF AMERICA,

       Respondent.


                                      ORDER

      Movant Carlos Francisco Santana Mero, acting pro se, filed a motion to

vacate, set aside, or correct an allegedly illegal sentence in accordance with 28

U.S.C. § 2255 [Doc. 42]. This matter is before the Court on the Final Report and

Recommendation of the Magistrate Judge [Doc. 60] (“R&R”) recommending that

the Government’s Motion to Dismiss [Doc. 54] be granted, that the Motion to

Vacate be dismissed without prejudice, that a certificate of appealability be denied,

and that Civil Action No. 1:20-CV-1070-MHC-AJB be dismissed without

prejudice. The Order for Service of the R&R [Doc. 61] provided notice that, in

accordance with 28 U.S.C. § 636(b)(1), the parties were authorized to file
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objections within fourteen (14) days of the receipt of that Order. No objections

have been filed to the R&R.

      Absent objection, the district court judge “may accept, reject, or modify, in

whole or in part, the findings or recommendations made by the magistrate judge,”

28 U.S.C. § 636(b)(1). Based upon the absence of objections to the R&R, in

accordance with 28 U.S.C. § 636(b)(1), the Court has reviewed the R&R for plain

error. See United States v. Slay, 714 F.2d 1093, 1095 (11th Cir. 1983). The Court

finds no plain error and that the R&R is supported by law.

      Accordingly, the Court APPROVES AND ADOPTS the Final Report and

Recommendation [Doc. 60] as the judgment of the Court. It is hereby ORDERED

that: (1) the Government’s Motion to Dismiss Without Prejudice Defendant’s

Motion Pursuant to 28 U.S.C. § 2255 for Lack of Jurisdiction [Doc. 54] is

GRANTED; (2) the Movant’s motion to vacate, set aside, or correct an allegedly

illegal federal sentence in accordance with 28 U.S.C. § 2255 [Doc. 42] is

DISMISSED WITHOUT PREJUDICE; and (3) that Civil Action No. 20-CV-

1070-MHC is DISMISSED WITHOUT PREJUDICE.

      It is further ORDERED that a certificate of appealability is DENIED

because Movant has not met the requisite standard. See Slack v. McDaniel, 529

U.S. 473, 483-84 (2000). Movant may not appeal the denial of his motion but may

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seek a certificate from the United States Court of Appeals for the Eleventh Circuit

under Federal Rule of Appellate Procedure 22. Rule 11(a), Rules Governing

§ 2255 Proceedings for the United States District Courts.

      The Clerk is DIRECTED to close the civil case file.

      IT IS SO ORDERED this 30th day of June, 2020.



                                      ____________________________________
                                      MARK H. COHEN
                                      United States District Judge




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